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                                    No. 23-12737

             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

                                 YIFAN SHEN, et al.,

                                Plaintiffs–Appellants,

                                          v.

                  WILTON SIMPSON, in his official capacity as
                  Florida Commissioner of Agriculture, et al.,

                                Defendants–Appellees.

                On Appeal from the United States District Court
       for the Northern District of Florida, No. 4:23-cv-208 (Winsor, A.)

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         AMENDED CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1 through 26.1-3, Plaintiffs–Appellants certify that the following

individuals and entities may have an interest in the outcome of this case or appeal;

individuals and entities listed in this disclosure for the first time are in bold font

below:

   1. American Civil Liberties Union Foundation, Attorney for Plaintiffs–

      Appellants

   2. American Civil Liberties Union Foundation of Florida, Attorney for

      Plaintiffs–Appellants

   3. Anti-Racism Center of LMU Loyola Law School, Amicus Curiae, Amici

      Curiae Brief of Racial Justice Centers, Affinity Bar and Professional

      Associations, and Civil Rights Advocacy Organizations

   4. Aoki Center for Critical Race and Nation Studies at UC Davis School of

      Law, Amicus Curiae, Amici Curiae Brief of Racial Justice Centers, Affinity

      Bar and Professional Associations, and Civil Rights Advocacy

      Organizations

   5. Arkansas, State of, Amicus Curiae, Amici Curiae Brief of the State of Idaho,

      et al.



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  6. Asian Americans Advancing Justice – Asian Law Caucus, Amicus Curiae,

     Amici Curiae Brief of Racial Justice Centers, Affinity Bar and Professional

     Associations, and Civil Rights Advocacy Organizations

  7. Asian Americans Advancing Justice Atlanta, Amicus Curiae, Amici Curiae

     Brief of Racial Justice Centers, Affinity Bar and Professional Associations,

     and Civil Rights Advocacy Organizations

  8. Asian American Legal Defense & Education Fund, Attorney for Plaintiffs–

     Appellants

  9. Asian American Women’s Political Initiative, Amicus Curiae, Amici Curiae

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     and Civil Rights Advocacy Organizations

  10. Asian Law Alliance, Amicus Curiae, Amici Curiae Brief of Racial Justice

     Centers, Affinity Bar and Professional Associations, and Civil Rights

     Advocacy Organizations

  11. Asian Pacific American Bar Association of Tampa, Amicus Curiae, Amici

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     Associations, and Civil Rights Advocacy Organizations

  12. Bailey, Andrew, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et

     al.

  13. Bell, Daniel William, Attorney for Defendants–Appellees

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  14. Boston University Center for Antiracist Research, Amicus Curiae, Amici

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  15. Butler, Steve, Attorney for U.S. Department of Justice, United States’

        Statement of Interest

  16. Carr, Christopher M., Amicus Curiae, Amici Curiae Brief of the State of

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  17. Center for Civil Rights and Racial Justice at the University Pittsburgh

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        Centers, Affinity Bar and Professional Associations, and Civil Rights

        Advocacy Organizations1

  18. Center for Immigration Law, Policy, and Justice at Rutgers Law School,

        Amicus Curiae, Amici Curiae Brief of Racial Justice Centers, Affinity Bar

        and Professional Associations, and Civil Rights Advocacy Organizations

  19. Center for Race, Inequality, and the Law at New York University

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        Centers, Affinity Bar and Professional Associations, and Civil Rights

        Advocacy Organizations




  1
      This entity was mistakenly listed twice in Plaintiffs–Appellants’ last disclosure.
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  20. Chang, Robert Seungchul, Attorney for Amici Curiae Brief of Racial Justice

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     Advocacy Organizations

  21. Chin, Gabriel J., Attorney for Amici Curiae Brief of Racial Justice Centers,

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  22. Chinese for Affirmative Action, Amicus Curiae, Amici Curiae Brief of

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  23. Clarke, Kristen, Attorney for U.S. Department of Justice, United States’

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  24. Conference of Asian Pacific American Law Faculty, Amicus Curiae, Amici

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  28. DeHeng Law Offices, PC, Attorney for Plaintiffs–Appellants

  29. Fitch, Lynn, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et al.

  30. Fitzgerald, Patricia, Defendant–Appellee

  31. Fitzpatrick, Martin A., Magistrate Judge for the Northern District of

     Florida

  32. Florida Attorney General’s Office, Attorney for Defendants–Appellee

  33. Florida Office of the Solicitor General, Attorney for Defendants–Appellee

  34. Formello, John M., Amicus Curiae, Amici Curiae Brief of the State of Idaho,

     et al.

  35. Forrester, Nathan Andrew, Attorney for Defendants–Appellee

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     School of Law, Amicus Curiae, Amici Curiae Brief of Racial Justice

     Centers, Affinity Bar and Professional Associations, and Civil Rights

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  37. Georgia, State of, Amicus Curiae, Amici Curiae Brief of the State of Idaho

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  39. Griffin, Tim, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et al.

  40. Handberg, Roger B., Attorney for U.S. Department of Justice, United

     States’ Statement of Interest




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  41. Harwell Jr., Lacy R., Attorney for U.S. Department of Justice, United

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  42. Hispanic National Bar Association, Amicus Curiae, Amici Curiae Brief of

     Racial Justice Centers, Affinity Bar and Professional Associations, and Civil

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  43. Idaho, State of, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et

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  44. Indiana, State of, Amici Curiae Brief of the State of Idaho, et al.,

  45. Jackley, Marty J., Amicus Curiae, Amici Curiae Brief of the State of Idaho,

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     Rights Advocacy Organizations

  49. Jarwala, Alisha, Attorney for U.S. Department of Justice, United States’

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  50. Kelly, J. Alex, Defendant–Appellee




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  51. Knudsen, Austin, Amicus Curiae, Amici Curiae Brief of the State of Idaho,

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     Justice Centers, Affinity Bar and Professional Associations, and Civil Rights

     Advocacy Organizations

  57. Lee, Dexter, Attorney for U.S. Department of Justice, United States’

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  58. Li, Bethany Yue-Ping, Attorney for Plaintiffs–Appellants

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  61. Maurer, Michael S., Attorney for U.S. Department of Justice, United States’

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  62. Mahfooz, Sidra, Attorney for Plaintiffs–Appellants

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  63. Mississippi, State of, Amicus Curiae, Amici Curiae Brief of the State of

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  64. Missouri, State of, Amicus Curiae, Amici Curiae Brief of the State of Idaho,

     et al.

  65. Montana, State of, Amicus Curiae, Amici Curiae Brief of the State of Idaho,

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  66. Moody, Ashley, Attorney for Defendants–Appellees

  67. Multi-Choice Realty, LLC, Plaintiff–Appellant

  68. National Asian Pacific American Bar Association, Amicus Curiae, Amici

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  69. New Hampshire, State of, Amicus Curiae, Amici Curiae Brief of the State of

     Idaho, et al.

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  72. Pagnucco, Carrie, Attorney for U.S. Department of Justice, United States’

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  74. Rather, Shaiba, Attorney for Plaintiffs–Appellants

  75. Reyes, Sean, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et al.

  76. Rodriguez, Madeleine Kristine, Attorney for Amici Curiae Brief of Racial

     Justice Centers, Affinity Bar and Professional Associations, and Civil Rights

     Advocacy Organizations

  77. Rokita, Theodore E., Amicus Curiae, Amici Curiae Brief of the State of

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  78. Rundle, Katherine Fernandez, Defendant

  79. Sayler, Erik Louis, Attorney for Defendants–Appellees

  80. Schenck, Robert Scott, Attorney for Defendants–Appellees

  81. Shaffer, Derek Lawrence, Attorney for Plaintiffs–Appellants

  82. Shen, Yifan, Plaintiff–Appellant

  83. Shutts & Bowern, LLP, Attorney for Defendants–Appellees

  84. Simpson, Wilton, Defendant–Appellee

  85. Song, Jian, Owner of Plaintiff Multi-Choice Realty, LLC

  86. South Asian Bar Association of North America, Amicus Curiae, Amici

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  87. South Carolina, State of, Amicus Curiae, Amici Curiae Brief of the State of

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  88. South Dakota, State of, Amicus Curiae, Amicus Curiae Brief of the State of

     Idaho, et al.

  89. Taitz, Sarah Michelle, Former Attorney for Plaintiffs–Appellants

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  91. Tilley, Daniel Boaz, Attorney for Plaintiffs–Appellants

  92. Toomey, Patrick Christopher, Attorney for Plaintiffs–Appellants

  93. Turner, Joshua Nathaniel, Attorney for Amici Curiae Brief of the State of

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  94. U.S. Department of Justice, United States’ Statement of Interest

  95. Utah, State of, Amici Curiae Brief of the State of Idaho, et al.

  96. Wang, Xinxi, Plaintiff–Appellant

  97. Warren, Nicholas, Attorney for Plaintiffs–Appellants

  98. Whitaker, Henry Charles, Attorney for Defendants–Appellees

  99. Wilson, Alan, Amicus Curiae, Amici Curiae Brief of the State of Idaho, et

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  100. Winsor, Hon. Allen, District Court Judge for the Northern District of

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  102. Wold, Theodore J., Attorney for Amicus Curiae Brief of the State of Idaho,

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   103. Worrell, Monique H., Defendant

   104. Wrigley, Drew H., Amicus Curiae, Amici Curiae Brief of the State of

      Idaho, et al.

   105. Xu, Zhiming, Plaintiff–Appellant

   106. Zafar, Noor, Attorney for Plaintiffs–Appellants

   107. Zaman, Razeen J., Attorney for Plaintiffs–Appellants

   108. Zhu, Keliang, Attorney for Plaintiffs–Appellants

      Plaintiffs–Appellants further state that no publicly traded company or

corporation has an interest in the outcome of the case or appeal. Plaintiffs–

Appellants certify that Multi-Choice Realty, LLC has no parent corporation, and no

publicly held corporation owns 10% or more of its stock. The remaining Plaintiffs–

Appellants are individual persons.



Dated: October 2, 2023                       /s/ Ashley Gorski
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                                             American Civil Liberties Union
                                                 Foundation

                                             Attorney for Plaintiffs–Appellants




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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiffs–Appellants respectfully request oral argument. This appeal

concerns important constitutional and statutory issues raised by Florida Senate Bill

264, which restricts the ability of people whose “domicile” is in China to purchase

homes in the state. Plaintiffs–Appellants believe that oral argument would assist the

Court in deciding these matters.




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                       JURISDICTIONAL STATEMENT

      This matter involves an appeal from the district court’s denial of Plaintiffs’

motion for a preliminary injunction in Shen v. Simpson, No. 4:23-cv-208-AW-MAF

(N.D. Fla. Aug. 17, 2023), ECF No. 69. The district court had subject-matter

jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. §§ 1983, 3613.

Plaintiffs timely filed a notice of appeal on August 21, 2023. This Court has

jurisdiction over the appeal pursuant to 28 U.S.C. § 1292(a)(1).

                                  INTRODUCTION

      A new Florida law, Senate Bill 264, forbids people who are “domiciled” in

China from purchasing homes in the state, with only extremely narrow exceptions.

It is currently wreaking havoc on the lives and plans of Plaintiffs, four Chinese

citizens who reside in Florida and a real estate brokerage firm that principally serves

Chinese and Chinese American clients. The law is disrupting the individual

Plaintiffs’ purchases of homes, devastating Multi-Choice Realty’s business, and

roiling Florida’s real estate market, with some lenders now refusing to deal with any

Chinese national in Florida.

      SB 264 mandates egregious national-origin discrimination, in violation of the

Fair Housing Act (“FHA”) and Equal Protection Clause. It singles out Chinese

people for extraordinary restrictions on the ability to buy a home, even though

Congress enacted the FHA to eradicate discriminatory policies in housing. SB 264’s



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reference to “domicile” in China is an obvious proxy for national origin; virtually

everyone domiciled in China is of Chinese national origin. Yet the district court

concluded that SB 264 is neutral as to national origin, ignoring common sense and

longstanding precedent that forbids the use of proxies to discriminate against

protected classes.

      Moreover, Florida’s law squarely conflicts with the federal statutes governing

national-security review of real estate transactions, and it interferes with the federal

foreign-affairs power in precisely the way this Court has already held impermissible.

SB 264 has selected a foreign country on which it “ha[s] declared, in effect, some

kind of economic war.” Odebrecht Const., Inc. v. Sec’y, Fla. Dep’t of Transp., 715

F.3d 1268, 1287 (11th Cir. 2013).

      In addition to the harms to Plaintiffs described above, SB 264 requires all

purchasers to attest under penalty of perjury that they are not domiciled in China or

that they otherwise comply with the law’s vague terms—deterring lawful purchases

and casting suspicion over any prospective purchaser of Asian descent. The statute

also recapitulates the errors and harms of similar state “alien land laws” from more

than a century ago that restricted Asians’ rights to hold land in America. Their

purpose was to discourage and prevent “non-desirable” Asian immigrants from

settling permanently in the United States and its territories, and their prohibitions are

part of a long history of racial discrimination against Asian Americans across the



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United States. Over time, however, the U.S. Supreme Court’s equal protection

doctrine evolved, and these laws targeting Asian immigrants were repealed or struck

down by state courts as unconstitutional. Not only does SB 264 harken back to this

racist chapter in American history, but it perpetuates odious stereotypes by treating

Chinese people as mere instruments of the Chinese government.

      The balance of the equities weighs decisively in Plaintiffs’ favor, particularly

because Plaintiffs seek a limited injunction that applies only to residential real estate.

The State has no legitimate (let alone compelling) justification for restricting

purchases of homes by Plaintiffs or others who live in Florida, and the United States

has supported an injunction while noting that SB 264 “will not advance the State’s

purported goal of increasing public safety.” See U.S. Statement of Interest in Supp.

of Pls.’ Mot. for Prelim. Inj., App.287.

      To preserve the pre-SB 264 status quo, and to prevent irreparable harms, this

Court should preliminarily enjoin the challenged provisions of the law.2

                          STATEMENT OF THE ISSUES

      1. Whether Plaintiffs are likely to succeed on claims that:


  2
    Plaintiffs seek to preliminarily enjoin the following portions of SB 264, codified
at Florida Statutes §§ 692.201, 692.203-204: in Section 692.204(1)(a), only the
provisions applying to individuals “domiciled” in China under subsections (1)(a)(4),
(1)(a)(5); in Section 692.201(4), only the provisions applying to individuals
“domiciled” in China under subsections (4)(d), (4)(e); and Sections 692.201,
692.203-204 insofar as they apply to residential real estate. References to “SB 264”
are to these provisions only.

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             a. SB 264 violates the Fair Housing Act by discriminating based on

                national origin and race;

             b. SB 264 violates the Equal Protection Clause by discriminating

                based on national origin, alienage, race, and ethnicity;

             c. SB 264 is preempted by federal law; and

             d. SB 264 is unconstitutionally vague;

      2. Whether SB 264 causes Plaintiffs irreparable harm; and

      3. Whether the balance of equities favors a preliminary injunction.

                         STATEMENT OF THE CASE

I.    Statement of Facts

      SB 264 took effect on July 1, 2023. The law creates two separate sets of

restrictions on land ownership in Florida:

      The first set of prohibitions bars “foreign principals”3 from seven “foreign

countries of concern,”4 including China, from owning or acquiring real property




3
  SB 264 defines “foreign principals” as including “[a]ny person who is domiciled
in a foreign country of concern and is not a citizen or lawful permanent resident of
the United States.” Fla. Stat. § 692.201(4)(d).
4
  The “foreign countries of concern” are “the People’s Republic of China, the
Russian Federation, the Islamic Republic of Iran, the Democratic People’s Republic
of Korea, the Republic of Cuba, the Venezuelan regime of Nicolas Maduro, or the
Syrian Arab Republic[.]” Id. § 692.201(3).


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within ten miles of a military installation or a critical infrastructure facility. Fla. Stat.

§ 692.203.

       Most relevant here is the second set of prohibitions, which targets Chinese

people for even more sweeping restrictions and severe penalties. The statute bars

“[a]ny person who is domiciled in the People’s Republic of China and who is not a

citizen or lawful permanent resident of the United States” from purchasing or

owning any real property in the state. Id. § 692.204(1)(a)(4). The sole exception is

that people with a valid non-tourist visa or who have been granted asylum are

permitted to purchase one residential property—but only if the property is less than

two acres and not within five miles of a military installation. Id. § 692.204(2). There

are more than 20 military bases in Florida, many of them within five miles of city

centers like Orlando, Tampa, Jacksonville, Pensacola, Panama City, and Key West,

and there are many other sites across the state that may qualify as “military

installations.” See App.100-01. The law also requires people who are “domiciled”

in China and who are not citizens or lawful permanent residents of the United States

to register their existing property with the State, with civil penalty and forfeiture

consequences for failure to comply. Fla. Stat. § 692.204(4).

       People “domiciled” in China who purchase property in violation of the statute,

as well as those who sell to them, are subject to significant criminal penalties. Id.




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§ 692.204(8)-(9).5 Notably, these penalties are more severe than those applicable to

people from other “countries of concern” who violate the law. Id. § 692.203(8)-(9).

For purchasers, the law’s criminal penalties have no mens rea requirement. Id.

§§ 692.204(8), .203(8).

      Plaintiffs include four individuals of Chinese descent who live in Florida. See

App.99, 118, 143, 149. The individual Plaintiffs are not citizens or permanent

residents of the United States, and all are at substantial risk of being deemed

“domiciled” in China under SB 264. Three of the individual Plaintiffs reside in

Florida on time-limited, nonimmigrant visas, and the fourth is seeking political

asylum. See App.99, 118-19, 143, 149. Plaintiff Multi-Choice Realty is a Florida-

based real estate business, and its customer base includes many Chinese people who

are subject to SB 264’s restrictions and precluded from purchasing real property in

Florida. App.155-57, 310-11.

      SB 264 is already causing and will continue to cause Plaintiffs irreparable

harm. For example, in early 2023, before SB 264 was enacted, Plaintiff Zhiming Xu

signed a contract to buy a second home near Orlando. App.119. However, Mr. Xu is

already a homeowner, and thus he does not qualify for SB 264’s narrow exception

for the purchase of a single property. His closing date was originally scheduled for


  5
    People domiciled in China who purchase land in violation of the law are subject
to a third-degree felony, id. § 692.204(8), punishable by up to five years in jail and
a maximum of $5,000 fine, id. §§ 775.082(3)(e), .083(2)(c).

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September 2023, but the transaction has not been able to move forward in light of

SB 264. App.118. Absent relief, Mr. Xu will be forced to cancel the contract for the

purchase of this new home, and will lose both the enjoyment of the home and all or

part of his $31,250 deposit. App.120.

      Similarly, in April 2023, Plaintiff Yifan Shen signed a contract to buy a home

in Orlando. App.100. The property appears to be located within five miles of

multiple military sites that may qualify as “military installations” under SB 264’s

broad definition. App.100-01. Absent relief, she will be forced to cancel the contract

for her new home. Id. Ms. Shen will lose both the enjoyment of the home and all or

part of her $25,000 deposit. Id.

      In addition, Plaintiff Yongxin Liu owns a home near Daytona Beach, which

is his primary residence. Mr. Liu had plans to purchase a vacation home for himself

and his parents, but because of the new law, he is prohibited from purchasing an

additional property. App.150-52.

      Several of the Plaintiffs also face discriminatory registration requirements for

their existing properties, under threat of severe penalties. App.119, 144, 150. These

plaintiffs must register their property with the State by December 31, 2023. Fla. Stat

§§ 692.203(3)(b), 692.204(4)(b).

      Plaintiff Multi-Choice Realty stands to lose significant business because of

the new law. App.155-57, 310-11. Many of Multi-Choice Realty’s customers, both



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existing and potential, are “domiciled” in China and prohibited from acquiring new

property in Florida. Id. As a result, Multi-Choice Realty will lose an estimated one-

quarter of its business. Id.

      SB 264 imposes far-reaching discriminatory and stigmatizing effects on

Plaintiffs and other people of Chinese and Asian descent. Plaintiffs reasonably fear

that the registration process will be used to monitor them, App.120, 144, 150; that

potential buyers of their properties will view them with suspicion, App.120; and that

sellers of real estate will discriminate against them, App.100-01, 121, 145, 152.

Indeed, some lenders are now refusing to do business with any Chinese national who

seeks to purchase real estate in Florida. App.310-11.

II.   Prior Proceedings

      Plaintiffs filed their complaint on May 22, 2023, App.10, and filed an

amended complaint on June 5, 2023, App.52. On June 6, Plaintiffs moved for a

preliminary injunction. App.3. The district court denied the motion on August 17,

App.321-72, and Plaintiffs timely filed a notice of appeal on August 21, App.8.

Plaintiffs moved in the district court for an injunction pending appeal that same day,

App.8, and the court denied that motion on August 23. App.373-75. On August 25

and 26, Plaintiffs moved in this Court for an injunction pending appeal and expedited

appeal, and to expand the word limit for that combined motion. Those motions

remain pending.



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                            STANDARD OF REVIEW

      The district court’s denial of a preliminary injunction is reviewed for abuse of

discretion, with legal determinations reviewed de novo and any factual

determinations reviewed for clear error. Hisp. Int. Coal. of Ala. v. Governor of Ala.,

691 F.3d 1236, 1242 (11th Cir. 2012). Legal errors constitute an abuse of discretion

and warrant “plenary review” of the entire order. Cumulus Media, Inc. v. Clear

Channel Commc’ns, Inc., 304 F.3d 1167, 1172 (11th Cir. 2002). Here, the district

court’s denial of Plaintiffs’ motion was based on legal determinations and is

therefore reviewed de novo. See App.325.

                       SUMMARY OF THE ARGUMENT

      Plaintiffs are likely to succeed on the merits of their claims. First, SB 264

violates the FHA, which prohibits national-origin and race discrimination in

housing. SB 264’s restrictions based on Chinese “domicile” are in fact restrictions

based on national origin, because 99.9% of people domiciled in China are of Chinese

origin. Longstanding precedent prohibits the use of such proxies to discriminate

against protected classes. In addition to expressly and intentionally discriminating

based on national origin, the statute also has a disparate impact based on national

origin and race.

      Second, SB 264 violates the Equal Protection Clause. It discriminates based

on national origin and alienage, and the State has conceded that the law cannot



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survive strict scrutiny. The 100-year-old precedents on which the district court relied

have been superseded by developments in equal protection doctrine. They are also

factually distinguishable, because unlike the statutes in those cases, SB 264

expressly singles out and harshly punishes people from particular countries (as

opposed to noncitizens in general).

      Third, SB 264 is preempted. Congress has established an extensive and

carefully calibrated system of national security review over real estate purchases by

foreign nationals. SB 264’s categorical prohibitions and stiff penalties are entirely at

odds with this regime, and in particular, with Congress’s choice to permit all single-

residence purchases. Florida has unilaterally declared its own economic and foreign

policy vis-à-vis China, in contravention of this Court’s and the Supreme Court’s

precedents. The State’s unlawful displacement of the federal regime with a far more

draconian system “weakens the President’s ability ‘to speak for the Nation with one

voice in dealing with’ China and other nations.” Odebrecht, 715 F.3d at 1272

(citation omitted).

      Fourth, SB 264 violates the Due Process Clause. It subjects purchasers in

Florida to severe criminal punishment even though individuals cannot reasonably

determine who is subject to the law or what properties it covers. The district court

and the State could not agree on the meaning of “domicile” or where Plaintiffs are

domiciled for purposes of SB 264, and the statute’s definitions of “military



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installation” and “critical infrastructure facility” are impermissibly vague. In

addition, SB 264 imposes strict criminal liability, so that even an honest mistake

could result in prosecution. This combination of vague terms, harsh criminal

penalties, and strict liability is fatal as a matter of due process.

       Plaintiffs are suffering irreparable harm from SB 264, and the equities all

weigh in Plaintiffs’ favor. Without relief, Plaintiffs Xu and Shen will lose out on

unique, irreplaceable properties, and Plaintiff Multi-Choice Realty is already losing

customers. Because of SB 264, Plaintiffs are experiencing constitutional injuries,

unwarranted stigma, and significant financial harms. There is no public interest in

the enforcement of a likely unconstitutional statute, and there is no evidence that

home purchases by Plaintiffs or people like them endanger national or state security.

Florida faces no injury from a preliminary injunction that simply delays enforcement

of SB 264, pending the resolution of important constitutional and statutory matters.

                                     ARGUMENT

I.     Plaintiffs are likely to succeed on the merits.

       The Court may grant injunctive relief if the moving party shows that: “(1) it

has a substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;

and (4) if issued, the injunction would not be adverse to the public interest.” Siegel



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v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000). Here, Plaintiffs have satisfied all

four conditions.

      The district court’s denial of Plaintiffs’ motion for a preliminary injunction

was based entirely on its erroneous conclusion that Plaintiffs are unlikely to succeed

on the merits; the court did not address the other preliminary-injunction factors. See

App.372. In holding that Plaintiffs are unlikely to prevail on any of their four claims,

the court legally erred, and each of those errors warrants reversal.

      A.     SB 264 violates the Fair Housing Act.

             1.     Statutory background

      The FHA prohibits housing practices that discriminate based on national

origin and race, 42 U.S.C. §§ 3604, 3605, and declares that “any law of a

State . . . that purports to require or permit any . . . discriminatory housing practice

under [the FHA] shall to that extent be invalid,” id. § 3615. The FHA’s “central

purpose” is to “eradicate discriminatory policies” in housing, Tex. Dep’t of Hous. &

Cmty. Affs. v. Inclusive Cmtys. Project, Inc., 576 U.S. 519, 539 (2015), an objective

“of the highest priority” to Congress, Trafficante v. Metro. Life Ins. Co., 409 U.S.

205, 211 (1972). Because SB 264 is itself a discriminatory housing practice and

“require[s] . . . a discriminatory housing practice,” it is “invalid” and cannot be

enforced. See 42 U.S.C. § 3615; see also, e.g., Town of Huntington v. Huntington




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Branch, NAACP, 488 U.S. 15, 18 (1988) (affirming decision to strike down portion

of ordinance for violating the FHA); U.S. Statement of Interest, App.292-301.

      Section 3604(a) of the FHA makes it unlawful to “refuse to sell . . . after the

making of a bona fide offer, or to refuse to negotiate for the sale . . . or otherwise

make unavailable or deny, a dwelling to any person because of race, color, . . . or

national origin.”6 Section 3605(a), which applies to Plaintiff Multi-Choice, makes it

unlawful for any business engaged in “residential real estate-related transactions to

discriminate against any person . . . because of race, color . . . or national origin.”

SB 264 blatantly violates these provisions of the FHA in several respects, discussed

below.

      The FHA grants Plaintiffs a cause of action because they are “aggrieved

persons” under the statute, see 42 U.S.C. §§ 3602(i), 3613(a). Under the FHA, the

individual Plaintiffs are aggrieved persons because they will be forced to cancel

purchases of new homes and/or register their existing properties under threat of

severe penalties. See App.101-02, 119-20, 144, 150. Plaintiff Multi-Choice Realty

is also an aggrieved person with respect to both 42 U.S.C. §§ 3604(a) and 3605



  6
    The FHA defines “dwelling” as “any building, structure, or portion thereof
which is occupied as, or designed or intended for occupancy as, a residence by one
or more families, and any vacant land which is offered for sale or lease for the
construction or location thereof of any such building, structure, or portion thereof.”
42 U.S.C. § 3602(b).


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because it cannot facilitate residential transactions that are now barred by SB 264’s

discriminatory prohibitions. See App.155-57, 310-11. The Supreme Court “has

repeatedly written that the FHA’s definition of person ‘aggrieved’ reflects a

congressional intent to confer standing broadly,” Bank of Am. Corp. v. City of Miami,

581 U.S. 189, 197-98 (2017) (citing examples), and the district court declined to

accept the State’s arguments to the contrary. See App.356-58. Brokers that lose

income because of a discriminatory housing policy are covered under this broad

definition. See, e.g., Old W. End Ass’n v. Buckeye Fed. Sav. & Loan, 675 F. Supp.

1100, 1102 (N.D. Ohio 1987).

             2.    SB 264 facially discriminates based on national origin.

      SB 264 violates the FHA because it facially discriminates based on national

origin, i.e., the country where a person was born or from which his ancestors came.

See Espinoza v. Farah Mfg. Co., 414 U.S. 86, 88 (1973). SB 264 singles out people

who are “domiciled” in China, and for the purposes of the FHA analysis, this is the

same as singling out people who were born in China. Typically, the vast majority of

individuals “domiciled” in a country were born there, and that is certainly true of

China. It cannot reasonably be disputed that China’s population is overwhelmingly

of Chinese origin—99.9%, according to the United Nations.7 Thus, contrary to the


  7
    United Nations Statistics Division, UNData, China, Social Indicators
Concerning “International migrant stock,” https://data.un.org/en/iso/cn.html; see


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district court’s conclusion, SB 264 “is effectively a birthplace classification” with

respect to China. App.339.

      In holding that SB 264 is facially neutral as to national origin, see id., the

district court erred. Its analysis was at odds with longstanding case law forbidding

the use of fig leaves, or “proxies,” to discriminate against protected classes. See, e.g.,

Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1160 n.23 (9th

Cir. 2013) (“Proxy discrimination is a form of facial discrimination.”). If proxy

discrimination were permissible, anti-discrimination laws could easily be evaded by

creative drafting. Here, “domicile” is no more than camouflage for regulating

Chinese people—and notably, the State has advanced no rationale for the law’s

peculiar use of “domicile” as a trigger for its prohibitions.

      The district court further erred by reasoning that “domicile” could function as

an impermissible proxy only if it is “practically indistinguishable” from national

origin. App.339. Although the two categories are, in fact, practically

indistinguishable in this context, that is not the relevant legal test. See Rice v.

Cayetano, 528 U.S. 495, 514, 516-17 (2000) (holding “ancestry” requirement an

impermissible proxy for “race,” even though the two categories were not




Dimanche v. Brown, 783 F.3d 1204, 1213 n.1 (11th Cir. 2015) (“Absent some reason
for mistrust, courts have not hesitated to take judicial notice of agency records and
reports.” (citation omitted)).


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coextensive); Resendiz v. Exxon Mobil Corp., 72 F.4th 623, 628 (4th Cir. 2023)

(requiring mere “overlap”). Almost every proxy is under- and over-inclusive to some

degree. Thus, it does not matter that some people of Chinese origin are not domiciled

in China. Rice, 528 U.S. at 516-17. Likewise, it does not matter that an exceedingly

small number of people domiciled in China are not of Chinese origin. See, e.g.,

Guinn v. United States, 238 U.S. 347, 364-65 (1915) (striking down “grandfather

clause” in which ancestry functioned as an proxy for race, even though some African

Americans’ ancestors were eligible to vote in various northern states, as explained

in Davis v. Guam, 932 F.3d 822, 841-42 (9th Cir. 2019)); Horizon House

Developmental Servs., Inc. v. Twp. of Upper Southampton, 804 F. Supp. 683, 694

(E.D. Pa. 1992), aff’d, 995 F.2d 217 (3d Cir. 1993). Just as discrimination based on

grey hair is a proxy for age, despite the occasional grey youth, here the rare exception

proves the rule. McWright v. Alexander, 982 F.2d 222, 228 (7th Cir. 1992).

      Davis v. Commonwealth Election Commission, 844 F.3d 1087 (9th Cir. 2016),

rejected similar claims that “domicile” is a neutral classification. There, the court

considered a Fifteenth Amendment challenge to a law in the Northern Mariana

Islands that limited voting rights to people who were “born or domiciled in the

Northern Mariana Islands by 1950” and their descendants. Id. at 1093. Although

“some persons who were not of Chamorro or Carolinian ancestry lived on the islands

in 1950,” the court nevertheless held that the law impermissibly favored persons of



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Chammoro or Carolinian ancestry. Id. (citing Rice, 528 U.S. at 516). In reaching this

conclusion, the court rejected the Commonwealth’s argument that the law’s use of

“domicile” was race-neutral. Id. Here, however, the district court wrongly treated

“domicile” as national-origin-neutral, and wrongly required Plaintiffs to establish

that the proxy category and the protected category are coextensive.

      If the district court’s analysis is allowed to stand, it risks eviscerating the

FHA’s protections. It would allow state and local governments—and any property

owner—to freely discriminate based on national origin, simply by labeling it

“domicile”-based discrimination. Congress’s efforts to “eradicate discriminatory

policies” in housing, Inclusive Cmtys., 576 U.S. at 539, cannot be so easily evaded.

Because SB 264 facially discriminates against people of Chinese origin, using only

the thinnest fig leaf, it violates the FHA.8

             3.     SB 264 intentionally discriminates based on national origin.

      SB 264 also violates the FHA because federal law prohibits housing practices

that intentionally discriminate based on protected characteristics. See, e.g., Jackson

v. Okaloosa County, 21 F.3d 1531, 1542 (11th Cir. 1994); Sec’y, U.S. Dep’t of Hous.




  8
    Although some circuits have held that facial discrimination based on disability
may be permitted under the FHA in extremely narrow circumstances, see, e.g.,
Larkin v. State of Mich. Dep’t of Soc. Servs., 89 F.3d 285, 290 (6th Cir. 1996), those
circumstances are not present here, and Plaintiffs are aware of no FHA case
permitting facial discrimination based on national origin.


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& Urb. Dev. v. Blackwell, 908 F.2d 864, 871 (11th Cir. 1990). Regardless of whether

the Court analyzes the proxy issue under the rubric of facial or intentional

discrimination, the answer is the same: SB 264 discriminates on the basis of national

origin.

      To prevail on a claim of intentional discrimination, i.e., disparate treatment,

Plaintiffs need not show that “any member of the [legislature] harbored racial hatred

or animosity toward any minority group,” N.C. State Conf. of NAACP v. McCrory,

831 F.3d 204, 233 (4th Cir. 2016); rather, Plaintiffs need only establish that protected

traits played “some role” in SB 264’s enactment, Sailboat Bend Sober Living, LLC

v. City of Ft. Lauderdale, 46 F.4th 1268, 1281 (11th Cir. 2022). Plaintiffs have made

this showing through both direct and circumstantial evidence. See, e.g., Veasey v.

Abbott, 830 F.3d 216, 236-37 (5th Cir. 2016) (en banc); Vill. of Arlington Heights v.

Metro. Hous. Dev. Co., 429 U.S. 252, 265-66 (1977).

      First, the text of the statute itself is direct evidence of legislative intent to

disproportionately impact Chinese people. It was undoubtedly known and

foreseeable to Florida legislators and Governor DeSantis that Section 692.204 would

overwhelmingly, if not exclusively, bar people of Chinese ancestry from purchasing

homes. See, e.g., App.190 (Governor DeSantis press release explaining that the

legislation “limit[s] Chinese purchases” of land); App.194, 204, 208, 217, 227, 231,

240, 250, 254, 263, 273, 278 (staff bill analyses explaining that prohibitions apply



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to “persons domiciled in China”); Veasey, 830 F.3d at 236 (finding discriminatory

intent where legislators “were aware of the likely disproportionate effect of the law

on minorities”).

      Second, the disconnect between SB 264’s reach and its stated purpose is

further evidence of discriminatory intent. Because the statute’s sweeping impact on

ordinary Chinese people is not even “tenuously related to the legislature’s stated

purpose,” id. at 237, the natural conclusion is that the statute’s proponents sought to

discriminate against purchasers based on their country of origin. Florida legislators

and the governor understood that the statute stretched far beyond the Chinese

government and its agents, yet they never offered a justification for casting such a

wide net. Rather, their stated justification has focused entirely on the Chinese

government. See, e.g., App.190 (Governor DeSantis describing the legislation as

action “against the United States’ greatest geopolitical threat—the Chinese

Communist Party”).

      Third, Governor DeSantis, legislators, and the statute itself have relied on

pernicious stereotypes to wrongfully conflate people merely domiciled in China with

their government—treating Chinese people as inherently suspicious and as mere

instruments of the CCP. See, e.g., App.190 (Governor DeSantis stated: “I’m proud

to sign this legislation to stop the purchase of our farmland and land near our military

basis and critical infrastructure by Chinese agents.”); Amicus Br. of Racial Just.



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Ctrs., Affinity Bar & Pro. Assocs., & Civil Rts. Advoc. Orgs., at 12-13, ECF No. 43.

Following the district court’s ruling, Governor DeSantis tweeted that the U.S.

Department of Justice had “sided with Communist China against Florida’s law

prohibiting CCP-tied entities from buying land in Florida,” even though Plaintiffs

reside in Florida and are neither members of the Chinese government nor members

of the CCP.9

       Fourth, narrower alternatives were available to the state. Although the district

court claimed that Plaintiffs cited no such alternatives, App.352, that is incorrect.

E.g., Pls. Reply 9, ECF No. 65 (explaining that the legislature “easily could have

limited the law to foreign powers and their agents”). Indeed, Florida House Minority

Leader Fentrice Driskell and Rep. Robin Bartleman argued that SB 264 should be

narrowed to minimize its discriminatory impact.10 Instead, Governor DeSantis and

legislators specifically chose to sweep in countless ordinary Chinese people—



  9
    Governor DeSantis (@GovRonDeSantis), Twitter (Aug. 17, 2023, 5:57 PM),
https://twitter.com/GovRonDeSantis/status/1692294605352415425; see also, e.g.,
Bruce Ritchie, Chinese Citizens Seek to Block Florida’s Law Banning Them from
Owning            Property,       Politico         (June           7,        2023),
https://www.politico.com/news/2023/06/07/chinese-citizens-ask-federal-court-to-
delay-land-ownership-bill-00100809 (“‘We have a lot—a big increase in the number
of people who are Chinese nationals coming,’ DeSantis said Wednesday during an
event in Arizona. ‘Clearly the CCP is a major threat to this country and we need to
make sure we are recognizing that.’”).
  10
    See Florida House Session Part 2, The Florida Channel, at 3:35, 18:55 (May 3,
2023), https://thefloridachannel.org/videos/5-3-23-house-session-part-2.

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discriminating against them “because of,” not “in spite of,” where they come from.

Contra App.352. See Veasey, 830 F.3d at 236 (finding discriminatory intent where

legislature was aware of likely disproportionate impact on minorities and

“nonetheless passed the bill without adopting a number of proposed ameliorative

measures that might have lessened this impact”); see also infra Section I.B

(discussing additional Arlington Heights factors).

      Plaintiffs have shown that, at a minimum, it is substantially likely that national

origin “played some role” in the State’s choice to frame this statute so broadly,

establishing an FHA violation. Sailboat Bend, 46 F.4th at 1281.

             4.     SB 264 has a disparate impact based on national origin and
                    race.

      Regardless of intent, SB 264 violates the FHA because it has a disparate

impact on people whose national origin is Chinese and who are Asian, and the law

is not necessary to achieve a substantial valid interest. See Schaw v. Habitat for

Human. of Citrus Cnty., Inc., 938 F.3d 1259, 1274 (11th Cir. 2019) (plaintiff can

demonstrate a discriminatory effect by showing that a policy “makes housing

options significantly more restrictive for members of a protected group”); Inclusive

Cmtys., 576 U.S. at 527, 539-40. Although the district court faulted Plaintiffs for

failing to provide statistics about the disparate impact of the law, App.357, statistics

are not required—particularly because, at this stage, Plaintiffs need only establish a

likelihood of success. It is inevitable that a law discriminating against people

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domiciled in China has a disparate impact on Chinese people such as Plaintiffs. See

Bolden-Hardge v. Off. of Cal. State Controller, 63 F.4th 1215, 1227 (9th Cir. 2023)

(“[S]tatistics are not strictly necessary . . . where a disparate impact is obvious.”).

       The district court further erred in holding that Plaintiffs had failed to show

that SB 264 is an “artificial, arbitrary, and unnecessary barrier” to housing. App.358.

This is not Plaintiffs’ burden under the FHA; instead, the State must establish that

its law is “necessary” to advance a legitimate interest, and it has failed to do so. See

Inclusive Cmtys., 576 U.S. at 541 (defendants may be allowed to “maintain a policy

[with disparate impact] if they can prove it is necessary to achieve a valid interest”);

88 Fed. Reg. 19450, 19462 (May 1, 2023) (Department of Housing and Urban

Development rule implementing FHA and discussing plaintiff’s burden). In any

event, Plaintiffs have explained that SB 264 does not advance public safety or any

other legitimate interest, see also U.S. Statement of Interest, App.287, 305, and that

alternatives would have less disparate impact—such as a law limited to foreign

powers that does not restrict the availability of housing for ordinary Florida residents

like Plaintiffs.

       Finally, the court was wrong to fault Plaintiffs for initially raising the

disparate-impact argument in a footnote. App.357. Plaintiffs’ opening brief below

repeatedly referred to discriminatory impact, see Pls. Br. 21-23, ECF No. 23; the

footnote was substantial and included case citations, see id. at 26-27 n.9; and



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Plaintiffs elaborated on this argument in their reply, see Pls. Reply 13, ECF No. 65.

Cf. Mock v. Bell Helicopter Textron, Inc., 373 F. App’x 989, 992 (11th Cir. 2010)

(argument waived where raised “in passing in a footnote only and [appellant] does

not elaborate on it in any further detail in either one of its briefs”).

      B.     SB 264 violates the Equal Protection Clause.

      The Fourteenth Amendment “entitles both citizens and aliens to the equal

protection of the laws of the State in which they reside.” Graham v. Richardson, 403

U.S. 365, 371 (1971); see also, e.g., Yick Wo v. Hopkins, 118 U.S. 356, 369 (1886)

(the Fourteenth Amendment’s provisions “are universal in their application, to all

persons within the territorial jurisdiction” of a state). SB 264 violates the Equal

Protection Clause because it discriminates on the basis of protected characteristics—

national origin, alienage, race, and ethnicity—and it fails strict scrutiny, which

requires the state to show that the legislation is narrowly tailored to serve a

compelling state interest. See, e.g., Bernal v. Fainter, 467 U.S. 216, 219-22 & n.5

(1984) (discussing protected traits); City of Cleburne v. Cleburne Living Ctr., 473

U.S. 432, 439-40 (1985) (same). Indeed, the State has conceded that SB 264 would

fail strict scrutiny, see App.338—for good reason. The statute’s limitations on the

individual Plaintiffs’ home purchases and its registration requirements do not

advance a legitimate (let alone compelling) state interest, and Florida simply cannot




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show that these measures are necessary to protect military installations and critical

infrastructure.

       SB 264 violates the individual Plaintiffs’ right to equal protection in three

independent respects.

       First, SB 264 expressly discriminates based on national origin, as discussed

supra. Section 692.204 discriminates by singling out people who are “domiciled” in

China for severe restrictions and penalties, and the statute’s use of “domicile” is

merely a proxy for “national origin.” Accordingly, strict scrutiny applies, and the

statute fails that test.

       Second, the statute expressly discriminates based on alienage, as the district

court recognized. App.340. As one example: Plaintiff Xinxi Wang resides in Florida

on a nonimmigrant F-1 visa, which means her “domicile” is in her country of origin,

China. Section 692.201(4) therefore categorizes her as a “foreign principal,” and she

is subject to the prohibitions and registration requirements in Section 692.204.

However, if Ms. Wang were a U.S. citizen whose “domicile” is in China, she would

not qualify as a “foreign principal,” and would not be subject to Section 692.204.

Thus, because the law discriminates based on alienage, strict scrutiny applies. See

Bernal, 467 U.S. at 219-22 (strict scrutiny generally applies to state laws that

discriminate based on alienage); Graham, 403 U.S. at 372 (“[C]lassifications based

on alienage, like those based on nationality or race, are inherently suspect and subject



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to close judicial scrutiny.”); see also Shaw v. Reno, 509 U.S. 630, 642 (1993)

(express discrimination triggers strict scrutiny without an extrinsic showing of

discriminatory intent).

      The district court erred in relying on a set of 100-year-old Supreme Court

cases to hold this discrimination constitutionally permissible. See App.340-46

(citing Terrace v. Thompson, 263 U.S. 197 (1923)). Terrace and its companion cases

upheld state “alien land laws” that discriminated against “aliens not eligible to

become citizens,” applying a standard less demanding than strict scrutiny. See, e.g.,

Terrace, 263 U.S. at 219-20; Frick v. Webb, 263 U.S. 326, 333 (1923). But those

cases do not govern here. They predated several critical developments in equal

protection law, including: (1) the Court’s modern articulation and application of the

strict scrutiny test to laws that discriminate based on national origin, race, or

ethnicity, see Richard H. Fallon, Jr., Strict Judicial Scrutiny, 54 UCLA L. Rev. 1267,

1297 (2007) (modern strict scrutiny test did not emerge until the mid-twentieth

century); and (2) the Court’s explicit adoption of strict scrutiny for state laws

discriminating on the basis of alienage, see Bernal, 467 U.S. at 219; Graham, 403

U.S. at 371-72.

      As the Supreme Court explained in Graham, “[i]t is true that this Court on

occasion has upheld state statutes that treat citizens and noncitizens differently, the

ground for distinction having been that such laws were necessary to protect special



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interests of the State or its citizens.” 403 U.S. at 372. This “special public interest

doctrine,” which animated Terrace and its companion cases, was predicated on the

idea that “‘(w)hatever is a privilege, rather than a right, may be made dependent

upon citizenship.’” Id. at 374. However, in subsequent years, the Supreme Court

rejected this distinction between constitutional rights and privileges—vitiating the

theory behind Terrace. See id. (citing, inter alia, Takahashi v. Fish & Game

Comm’n, 334 U.S. 410 (1948)); see also Ambach v. Norwick, 441 U.S. 68, 73 (1979)

(observing that “our more recent decisions have departed substantially from the

public-interest doctrine”).

      Even by the 1950s, several state supreme courts had struck down their state

alien land laws as violating the Fourteenth Amendment, recognizing that Terrace

and similar cases had been superseded by developments in equal protection law. See

Fujii v. State, 38 Cal. 2d 718, 725-38, 242 P.2d 617, 622-30 (1952); Namba v.

McCourt, 185 Or. 579, 610-12, 204 P.2d 569, 581-82 (1949); State v. Oakland, 129

Mont. 347, 352, 287 P.2d 39, 42 (1955).

      But critically, even if Terrace were still valid, it would not “directly control”

here because it involved a very different type of law. Jefferson Cnty. v. Acker, 210

F.3d 1317, 1320-21 (11th Cir. 2000). Unlike the law in Terrace, which the Supreme

Court characterized as “applying alike and equally to all aliens,” and not based on

“race and color,” 263 U.S. at 218, 220, SB 264 expressly singles out people



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domiciled in particular countries and applies uniquely harsh restrictions and

penalties on people domiciled in a single country. In Namba, for example, the

Oregon Supreme Court held that the Equal Protection Clause would no longer permit

an alien land law primarily affecting Japanese people, and it distinguished Terrace

as permitting only even-handed discrimination against all noncitizens. See Namba,

204 P.2d at 582.

      This Court has made clear that there is “a difference between following a

precedent and extending a precedent,” and lower courts are under no obligation to

extend a discredited Supreme Court case “by even a micron.” Acker, 210 F.3d at

1320-21. Yet the district court extended Terrace by miles—applying it to a novel

statute that expressly discriminates against noncitizens domiciled in China. The

statute’s explicit focus on China and other specific countries takes it far outside of

Terrace’s ambit.

      But even if the Court were to conclude that Terrace directly controls here, SB

264 would still fail because its classifications are “arbitrary” and “unreasonable.”

Cf. App.342. The statute does not advance public safety. As the federal government

explained below, “Florida cannot show that restricting or prohibiting individuals,

particularly those who may have no connection whatsoever with the Chinese

government or the Chinese Communist Party, from purchasing real estate

contributes to public safety.” U.S. Statement of Interest, App.305. Moreover, the



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State has provided no justification for restrictions on Florida residents “domiciled”

in China. It has presented no evidence—none—of a nexus between ownership of

homes by Chinese people in Florida and purported harm to national or state security.

      Finally, the district court was wrong to hold that because the law exempts

noncitizens who are lawful permanent residents, heightened scrutiny does not apply.

App.349. Bernal and Graham applied strict scrutiny to laws discriminating against

all noncitizens residing in the United States, and nothing in their analysis suggests

that heightened scrutiny applies only to laws discriminating against lawful

permanent residents. See, e.g., Bernal, 467 U.S. at 219 n.5 (characterizing “aliens as

a class” as a discrete and insular minority).

      Third, SB 264 violates equal protection because of its discriminatory intent

and effects based on national origin, alienage, race, and ethnicity. See supra Section

I.A.3 (discussing direct and circumstantial evidence of such intent). Discrimination

against Chinese people was, at a minimum, a “motivating factor” driving the law’s

breadth. Arlington Heights, 429 U.S. at 265-66. Under Arlington Heights, courts

examine the historical background of the government action, contemporary

statements of legislators, the impact of the challenged law, foreseeability of disparate

impact, knowledge of impact, and availability of less discriminatory alternatives.

See Greater Birmingham Ministries v. Sec’y of State for Ala., 992 F.3d 1299, 1322-




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23 (11th Cir. 2021). These factors weigh heavily toward a finding of discriminatory

intent.

          The historical background of SB 264 includes increased geopolitical tension

between the United States and China, and politicians seeking to foment and

capitalize on anti-China sentiment. See, e.g., App.188 (State Senator Jay Collins,

who introduced the bill, tweeted: “We are protecting our families, businesses, and

land from bad actors like China[.]”); App.181 (Governor DeSantis’s press release,

stating that he “proposed” the legislation, titled: “Governor Ron DeSantis

Counteracts Malign Influence by China and Other Hostile Nations in Florida through

New Action”).

          With respect to discriminatory impact based on national origin and race, SB

264’s harms are far-reaching. Florida residents who are “domiciled” in China are

broadly prohibited from purchasing property in the state, will be forced to cancel

purchases of new homes, and will be required to register their existing properties

with the state under threat of severe penalties. See, e.g., App.101, 119-20, 144, 150.

The statute is already having a discriminatory impact along racial and ethnic lines,

as China is populated almost entirely by people who are Asian.11 The law also




  11
        See      CIA      World     Factbook,          https://www.cia.gov/the-world-
factbook/countries/china/#people-and-society.

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stigmatizes Plaintiffs as Chinese people, and it casts suspicion over anyone of Asian

descent who seeks to buy property in Florida.

      These impacts were foreseeable and known to Florida legislators and

Governor DeSantis, given the nature of the restrictions, and as evidenced by the bill

analyses prepared by the Florida Senate professional staff. See, e.g., App.190, 194.

The district court erred by minimizing the statements of the bill’s proponents and by

disregarding these reports, reasoning that they do not show “awareness of

consequences for those of Chinese descent or those born in China.” App.352-53. But

the court’s formalistic analysis is at odds with common sense, given the enormous

overlap between Chinese domicile and national origin, race, and ethnicity. The court

further erred in suggesting that statements of individual legislators are not

meaningful evidence of discriminatory intent. App.353-54. See, e.g., Cooper v.

Harris, 581 U.S. 285, 299-300 (2017); City of Carrollton Branch of the NAACP v.

Stallings, 829 F.2d 1547, 1552-53 (11th Cir. 1987). Finally, as discussed supra, far

less discriminatory alternatives were available to the State. Accordingly, under

Arlington Heights, SB 264 violates the Equal Protection Clause.

      C.     SB 264 intrudes on the federal government’s foreign affairs
             powers and is preempted.

      Congress has established a calibrated system of national security review over

real estate purchases by foreign nationals. In doing so, Congress balanced various

competing considerations, including concerns about foreign espionage, impacts on

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the economy, and the inevitable implications for U.S. foreign relations. It crafted

limitations on and exceptions to this system, and it gave the President ultimate

discretion over whether to block any particular covered purchases. In creating the

federal system, Congress also categorically determined that single-residence

purchases did not warrant national security review, let alone prohibition.

      Florida has displaced this federal regime with its own draconian system of

prohibitions and prison terms. SB 264 addresses the very same concerns—national

security and foreign policy—with a diametrically opposed, blunt-force approach.

Rejecting Congress’s careful scheme and the President’s authority in this arena,

Florida has barred most Chinese nationals from any real estate purchases,

“unilaterally select[ing] by name a foreign country” for a declaration of “economic

war.” Odebrecht, 715 F.3d at 1287 (holding such a state policy preempted). Because

Florida’s statute “weakens the President’s ability ‘to speak for the Nation with one

voice in dealing’ with” China and other nations, “differs dramatically from the

federal regime” in the purchases it regulates and “the penalties imposed,” and

“overrides the nuances of the federal law,” it is preempted. Id. at 1272 (quoting

Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 381 (2000)).

             1.    FIRRMA strikes a balance involving weighty foreign policy
                   and national security considerations.

      Under federal law, certain real estate purchases by foreign nationals are

subject to national security review by the Committee for Foreign Investment in the

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United States (“CFIUS”). See 50 U.S.C. § 4565; 31 C.F.R. § 802. CFIUS was first

established by executive order in 1975 and later codified into statute. App.366

(describing history). In 2018, Congress enacted and President Trump signed the

Foreign Investment Risk Review Modernization Act of 2018 (“FIRRMA”), Pub. L.

115-232, 132 Stat. 1636, which expanded CFIUS’s national-security review

authority to include real estate purchases.

      In crafting this system, Congress was careful to balance countervailing

considerations. On one hand, Congress was concerned with the potential for real

estate purchases to pose national security and espionage threats. FIRRMA thus

subjected to review the purchase of property within “an air or maritime port”; “in

close proximity to” a military or otherwise sensitive facility; or which could provide

“the ability to collect intelligence” or conduct “foreign surveillance” of such

installations. 50 U.S.C. § 4565(a)(4)(B)(ii)(II)(aa), (bb). On the other hand,

Congress recognized that over-restriction could have harmful consequences,

emphasizing for example that “foreign investment provides substantial economic

benefits to the United States,” thus “enhancing national security.” FIRRMA

§ 1702(b)(1) (emphasis added). Accordingly, Congress limited the scope of the real

estate restrictions in various ways, including by exempting all transactions involving

a single housing unit from CFIUS review. 50 U.S.C. § 4565(a)(4)(C)(i).




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      Moreover, Congress did not prohibit any transactions outright. Rather, it left

that judgment to the discretion of the President with the advice of CFIUS. That

ultimate deference to the President reflects the potential foreign policy consequences

of blocking any particular purchase—to say nothing of blanket restrictions on people

from particular countries. As the D.C. Circuit explained, such decisions involve

“judgment in the realm of foreign policy and national security.” Ralls Corp. v.

Comm. on Foreign Inv. in U.S., 758 F.3d 296, 314 (D.C. Cir. 2014).

             2.    SB 264 invades the federal foreign policy domain.

      SB 264 conflicts with federal law by usurping the President’s authority over

matters of foreign affairs. Under Congress’s scheme, the President and CFIUS

evaluate transactions on a case-by-case basis and determine how best to balance

sensitive questions of national security and foreign affairs. But Florida’s statute

sweeps that process aside: because Florida has concluded that nearly all real estate

purchases by Chinese citizens pose a national security threat, it does not matter

whether the President disagrees. Those purchases are barred—regardless of any

foreign policy consequences.

      This Court, and the Supreme Court, have rejected similar claims of state

supremacy in matters implicating foreign relations. See Odebrecht, 715 F.3d at 1272;

Crosby, 530 U.S. at 377. Like the unlawful state statutes in Odebrecht and Crosby,

SB 264 “undermines the substantial discretion Congress has afforded the President”



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in addressing the national security and foreign policy implications of real estate

purchases, thereby “weaken[ing] the President’s ability to speak for the Nation with

one voice in dealing with” China and other nations. Odebrecht, 715 F.3d at 1272,

1281 (cleaned up). “Choosing ‘the right degree of pressure to employ’” in addressing

potential national security concerns “is a ‘federal decision,’ not a decision for the

State of Florida.” Id. at 1284 (quoting Crosby, 530 U.S. at 380) (citation omitted).

      Acknowledging the force of this argument, the district court deemed

Plaintiffs’ preemption claim the “close[st]” in the case. App.362; see Crosby, 530

U.S. at 368 (describing foreign relations as a “uniquely federal area of regulation”).

Ultimately, though, the court distinguished Odebrecht and Crosby on plainly

unsustainable grounds. The statutes at issue in those cases, the court reasoned, were

“designed to put economic pressure on foreign nations.” App.367. By contrast, the

court concluded, FIRRMA “address[es] principally security issues,” App.368, and

thus did not seriously implicate foreign affairs in the court’s view. That was error

for several reasons.

      First, the uniquely federal interest in foreign relations has never been limited

to situations in which Congress seeks to “exert diplomatic pressure on foreign

nations.” App.369. Immigration policy, for example, is not focused on exerting

pressure, nor is it a matter dealing “principally with international diplomacy.”

App.368. Yet this Court and the Supreme Court have repeatedly emphasized the



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potential foreign relations consequences of immigration policies. See United States

v. Alabama, 691 F.3d 1269, 1295 n.20 (11th Cir. 2012) (“Any policy toward aliens

is vitally and intricately interwoven with contemporaneous policies in regard to the

conduct of foreign relations.” (cleaned up)); Arizona v. United States, 567 U.S. 387,

395 (2012) (“It is fundamental that foreign countries concerned about the status,

safety, and security of their nationals in the United States must be able to confer and

communicate on this subject with one national sovereign, not the 50 separate

States.”).

       Indeed, the treatment of foreign nationals in the United States—whether by

the federal government or states—can have dramatic consequences on the world

stage. “Experience has shown that international controversies of the gravest moment,

sometimes even leading to war, may arise from real or imagined wrongs to another’s

subjects inflicted, or permitted, by a government.” Hines v. Davidowitz, 312 U.S.

52, 64 (1941); Arizona, 567 U.S. at 395 (similar). The singling out of particular

nationalities for ownership restrictions carries similarly grave foreign policy

implications and brings this case squarely within the rule of Odebrecht and Crosby.

       Second, the district court was wrong to downplay the role of foreign affairs in

the CFIUS regime. Congress expressly contemplated that foreign affairs would

factor into the President’s ultimate decision whether to block transactions. 50 U.S.C.

§ 4565(f)(9)(A)-(B), (11) (directing consideration of the “relationship of such



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country with the United States” and “such other factors as the President or the

Committee may determine to be appropriate, generally or in connection with a

specific review or investigation”). Moreover, Congress specifically included in

CFIUS’s membership officials “with foreign policy . . . responsibilities,” Ralls

Corp., 758 F.3d at 302. And insofar as CFIUS is focused on “security issues,”

App.369, those are national security threats posed by foreign powers and their

nationals. Whether and how to limit foreign economic activity on national security

grounds necessarily involves careful consideration of the foreign policy

implications. Cf. Crosby, 530 U.S. at 376 n.10 (“We find it unlikely that Congress

intended both to enable the President to protect national security by giving him the

flexibility to suspend or terminate federal sanctions and simultaneously to allow

Massachusetts to act at odds with the President’s judgment of what national security

requires.”).

      After all, such decisions will frequently have repercussions in the realm of

foreign policy. Cf. Arizona, 567 U.S. at 395. If the President were to consider

sweeping prohibitions on property ownership by Chinese nationals, he would have

to weigh the possible effects on other national interests. Would China retaliate with

economic restrictions of its own? Could the threat of such action serve as leverage

to encourage China’s cooperation on matters of international security, diplomacy, or

other issues of major national interest? All these questions would doubtless weigh



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in the balance, along with any security benefits such a policy might have, and the

costs of the policy to the U.S. economy.12 Allowing SB 264 to stand intrudes on the

judgment of the President and Congress about how to properly weigh such foreign

policy considerations.13

       As if to highlight SB 264’s interference with the Nation’s foreign policy, the

statute itself and various statements made by its sponsors expressly tie it to foreign

policy goals, namely “taking action to stand against the United States’ greatest

geopolitical threat—the Chinese Communist Party,” and “following through on our

commitment to crack down on Communist China.” App.190 (remarks of Governor

DeSantis). This is not a state “security” regulation that operates in a general and

even-handed way; it is instead a measure that singles out particular countries and



  12
      See, e.g., Anthony Lin, Can China Change CFIUS?, Am. Lawyer (May 6,
2023), https://www.law.com/americanlawyer/almID/1202598860305 (Chinese
leaders “have hinted that the U.S. will pay an economic price for CFIUS” actions).
   13
      Contrary to the district court’s suggestion that there have been no diplomatic
complaints about SB 264, App.370, the Chinese Embassy has issued multiple
statements objecting to the statute for politicizing trade and investment issues and
fueling anti-Asian hatred in the United States. See, e.g., Rachel Hatzipanagos, Laws
Banning Chinese from Buying Property Dredge Up Old History, Wash. Post (Aug.
21, 2023), https://www.washingtonpost.com/nation/2023/08/18/florida-chinese-
land-laws; see also Alan Rappeport, Spreading State Restrictions on China Show
Depths of Distrust in the U.S., N.Y. Times (Aug. 21, 2023),
https://www.nytimes.com/2023/08/21/us/politics/china-restrictions-distrust.html
(“The Chinese government is especially concerned about a proliferation of state-
level restrictions,” which “is likely to complicate diplomacy with China and could
draw retaliation.”).


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nationalities in a manner calculated to infringe on the federal government’s foreign

affairs powers. Cf. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968) (state practices

that “impair the effective exercise of the Nation’s foreign policy” are preempted

even if they fall within areas of traditional state regulation). The district court’s focus

on whether the statute was intended to “exert diplomatic pressure,” App.369, thus

misses the point.

      In reaching a contrary conclusion, the district court relied on Faculty Senate

of Florida International University v. Winn, 616 F.3d 1206 (11th Cir. 2010). But

that case, if anything, underscores why SB 264 is preempted. There, Florida

restricted the use of state funds for university travel to certain countries. But the list

of countries was “determined by the federal government (not especially selected by

Florida).” Id. at 1210-11. As Odebrecht subsequently explained, the State in Faculty

Senate “did not unilaterally select by name a foreign country on which it had

declared, in effect, some kind of economic war.” 715 F.3d at 1287 (cleaned up). By

contrast, the statutes in Odebrecht and Crosby did—as does SB 264. See id.

Moreover, the statute in Faculty Senate “did ‘not attempt to prohibit, or even to

obstruct, trading broadly by anyone with anyone,’” and its “economic impact was

likely minimal.” Id. (quoting Faculty Senate, 616 F.3d at 1210). By contrast, SB 264

prohibits a wide swath of transactions, under criminal penalties, and its economic

impact has already been substantial as it roils Florida’s real estate market. As a result,



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this case—like Odebrecht and Crosby, and unlike Faculty Senate—involves

substantially “more than a minor or incidental brush with federal law.” Odebrecht,

715 F.3d at 1287.

      Third, the district court erred in reasoning that SB 264 escapes preemption

because the “thrust of the federal regime” is not foreign policy. App.369. In our

constitutional structure, foreign affairs is a uniquely federal realm, such that state

action can be preempted even absent any action from Congress. See Zschernig, 389

U.S. at 441; see also Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 413 (2003) (noting

“the concern for uniformity in this country’s dealings with foreign nations that

animated the Constitution’s allocation of the foreign relations power to the National

Government in the first place”) (cleaned up); Odebrecht, 715 F.3d at 1285 (in “the

‘vast external realm’ of foreign affairs, ‘with its important, complicated, delicate and

manifold problems, the President alone has the power to speak or listen as a

representative of the nation’”). Because state statutes can interfere with that federal

authority even if Congress has not yet spoken, the “thrust” of Congress’s enactments

cannot carry dispositive weight.

      Here, moreover, Congress has stepped in to expressly grant authority

implicating foreign affairs to the President—making the exclusive federal interest

even clearer. See Odebrecht, 715 F.3d at 1285 (where “the President acts pursuant

to an express or implied authorization of Congress, his authority is at its maximum,



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for it includes all that he possesses in his own right plus all that Congress can

delegate”) (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635

(1952) (Jackson, J., concurring)). In the district court’s view, FIRRMA ultimately

counted for little because it was “principally” concerned with “security,” and less

with foreign policy. But that reasoning would permit states to undermine federal

foreign policy merely because Congress enacted a law that, while doubtless

involving major foreign policy considerations, is not solely concerned with such

matters. Such a rule would dramatically interfere with the federal government’s

constitutionally exclusive powers.

      Ultimately, the district court’s claim that real estate transactions “represent

only one small part of the broader CFIUS regime,” App.370, is of no consequence.

Congress did choose to regulate real estate purchases; did delegate the ultimate

decision regarding such purchases to the President; and did choose to exempt

residences. CFIUS’s coverage of other kinds of transactions does not allow Florida

to reject and undo Congress’s considered judgments as to real estate. See Club

Madonna Inc. v. City of Miami Beach, 42 F.4th 1231, 1255 n.6 (11th Cir. 2022)

(rejecting argument that local ordinance survived preemption merely because it




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regulated only one particular business—a very small part of the overall field

regulated by the federal law).14

             3.    SB 264 sweeps aside FIRRMA’s nuances and imposes
                   draconian penalties.

       Even beyond SB 264’s interference with foreign policy, the law conflicts with

FIRRMA in multiple respects—by sweeping far beyond the scope of the federal

statute, overriding its exceptions, and imposing far more severe penalties. The

district court did not meaningfully address any of these conflicts.

       Consider Congress’s decision to specifically exempt all transactions

involving a single housing unit from CFIUS review. 50 U.S.C. § 4565(a)(4)(C)(i).

That “deliberate choice,” Club Madonna, 42 F.4th at 1254, is striking. The real estate

provisions of FIRRMA apply to property Congress deemed sensitive, such as

property “in close proximity to,” or which might facilitate “foreign surveillance” of,

a military installation. 50 U.S.C. § 4565(a)(4)(B)(ii)(II)(aa), (bb). Yet Congress

exempted individual residences even if they fall within those categories. That careful

carveout reflects the reality that regulating such transactions would risk major



  14
     While the district court noted that a presumption against preemption sometimes
applies to “a field which the States have traditionally occupied,” App.364 (cleaned
up), the court did not hold that the presumption applies here—and for good reason.
SB 264 “impinge[s] on an area of core federal concern”: foreign policy and national
security. Alabama, 691 F.3d at 1296 (rejecting presumption against preemption in
immigration context). Even if a presumption applied, “the state Act presents a
sufficient obstacle” to trigger preemption. Crosby, 530 U.S. at 374 n.8.

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economic and foreign policy harms and invite discrimination. Cf. Crosby, 530 U.S.

at 377-78 (“These detailed provisions show that Congress’s calibrated Burma policy

is a deliberate effort to steer a middle path.”); Hines, 312 U.S. at 73 (similar).

      Yet Florida’s law entirely bans purchases of homes for most Chinese

nationals. Fla. Stat. § 692.204(1)(a)(4); (2)(B). While Congress made the judgment

that all Chinese individuals (and people of other nationalities) may purchase a

residence consistent with national security, even in sensitive locations, Florida has

reached the opposite conclusion, banning most Chinese people from buying a home

anywhere in the state.

      Because Florida’s law “does not countenance . . . the federal regime’s

exceptions”—including, most notably for this case, its exception for purchases of

residences—it “squarely conflicts with the more nuanced federal regime.”

Odebrecht, 715 F.3d at 1282. In Odebrecht, this Court considered a similar state

attempt to “override[] the nuances of the federal law.” Id. at 1272. There, Congress

took care to exempt from its Cuba sanctions certain transactions “designed to support

the Cuban people,” including export of medical, agricultural, and informational

materials. Id. at 1282. In contrast, Florida’s statute barred state and local contracts

to companies that engaged in any commerce in Cuba, without exception. Id. The

State law thus “squarely conflict[ed] with the more nuanced federal regime.” Id. So

too here. Congress’s regulations of real estate purchases were “drawn not only to bar



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what they prohibit but to allow what they permit.” Id. at 1282-83 (quoting Crosby,

530 U.S. at 380). Florida does not have authority to wipe the federal exceptions off

the books.

      SB 264 represents a rejection of Congress’s approach in still other ways. As

part of its careful balancing of interests, Congress established an individualized

process for reviewing particular transactions and purchasers to assess whether they

pose any national security threat. See 50 U.S.C. § 4565(d)(4). That process allows

purchases and sellers to meet with CFIUS to discuss a transaction under review, 31

C.F.R. § 802.601(b), and it empowers CFIUS to negotiate agreements with the

parties to covered transactions “to mitigate any risk to the national security” through

imposition of adequate safeguards. 50 U.S.C. § 4565(l)(3)(A). Yet SB 264 affords

no opportunity to address any particularized national security concerns because the

law’s premise is that everyone from China is a security threat. In this respect, too,

Florida’s law resembles the statute invalidated in Odebrecht. There, federal law

permitted the Treasury Secretary to issue licenses permitting otherwise barred

transactions with Cuba. 715 F.3d at 1277. The State law covered all transactions,

with “no calibrated licensing system.” Id. at 1282. Here, as in Odebrecht, the State’s

elimination of such procedural nuances “squarely conflicts” with federal law. Id.

      The same is true of the State’s extreme criminal enforcement scheme, which

“imposes additional penalties above and beyond the federal regime.” Id. at 1283.



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Indeed, the mismatch here is far more extreme than in Odebrecht. FIRRMA imposes

no penalty at all for engaging in a covered transaction; rather, it simply authorizes

the President to prohibit or suspend that transaction if necessary.15 By contrast, under

SB 264, the same purchase is categorically prohibited and punishable by a lengthy

prison sentence. The careful “congressional calibration of force” is replaced with a

broad regime of strict liability. Crosby, 530 U.S. at 380. The conflict between these

schemes is direct and impermissible: “[A] conflict between federal and state law is

imminent when two separate remedies are brought to bear on the same activity.” Ga.

Latino All. for Hum. Rts. v. Governor of Ga., 691 F.3d 1250, 1267 (11th Cir. 2012)

(internal quotation marks omitted). Thus, this Court has struck down an immigration

provision as preempted where it “layer[ed] additional penalties atop federal law in

direct opposition to the Court’s direction in Crosby.” Id. SB 264 does the same.

       Finally, the district court also pointed to the “history of state regulation of

alien landownership,” suggesting there was “no similar history of states using

economic leverage to affect foreign policy” as in Odebrecht and Crosby. App.370.

It concluded that this difference “counsels against” finding preemption here absent

an express congressional statement. App.370-71. That is doubly wrong. First, in

Crosby, Massachusetts pointed to the long history of state sanctions regimes—to no


  15
     Under the federal scheme, criminal liability attaches only where a person has
made false statements to CFIUS; violations of the terms of any mitigation agreement
are punishable only by civil penalties. 31 C.F.R. § 802.901(a)-(c), (g).

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avail. See Pet’rs’ Br. at *10, 2000 WL 35850 (Jan. 12, 2000) (citing “more than two

hundred years” of state boycott statutes to promote human rights “around the world,”

“selective purchasing laws enacted by state and local governments in the 1980s

concerning South Africa,” and “many [similar] recent state and local laws and

resolutions”). Crosby acknowledged this historical backdrop but rejected the very

conclusion the district court drew in this case: that Congress’s “failure to enact

express preemption implies approval.” 530 U.S. at 387. Second, the court’s

suggestion that earlier land laws mean SB 264 should survive preemption is

particularly unwarranted because other state limitations on noncitizens’ ability to

purchase property bear little resemblance to Florida’s. For example, whatever impact

the CFIUS regime might have on even-handed state regulation of agricultural land

is simply not presented here. Florida’s far more extreme statute, which singles out

nationals of a particular “adversary” country and entirely bars home purchases by

most of those individuals, tramples on the federal foreign affairs authority and

directly contradicts the specific judgments codified in FIRRMA.16


  16
      The district court noted that the federal government had weighed in on the FHA
and equal protection claims, but did not “take a position at this time” on preemption
or due process. App.371. No inference can fairly be drawn from that fact. This
litigation has proceeded quickly, and the Statement of Interest was filed by a Justice
Department section with specific expertise on fair housing. It may take longer for
the government to opine on issues of foreign policy implicating multiple agencies.
In Crosby, for example, the federal government took no position in the lower courts,
see Nat’l Foreign Trade Council v. Natsios, 181 F.3d 38, 54 n.9 (1st Cir. 1999), but


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      D.     SB 264 is unconstitutionally vague.

      SB 264 subjects purchasers in Florida to severe criminal punishment even

though individuals cannot reasonably determine who is subject to the law or what

properties it covers. Especially significant, the law imposes strict criminal liability

on homebuyers, meaning even an honest mistake could result in prosecution. This

combination of vague terms, harsh criminal penalties, and strict liability is fatal as a

matter of due process. SB 264 does not define where individuals are “domiciled”—

a term subject to conflicting interpretations under Florida law. As a result, foreign

citizens who reside in Florida cannot reliably determine whether they are subject to

the statute’s prohibitions. Moreover, the law does not adequately define or identify

“military installations” and “critical infrastructure facilities,” making it impossible

for a person of ordinary intelligence to know where Florida’s new exclusion zones

begin and end. Together, these ambiguities fail to provide the notice that due process

requires, and they invite arbitrary and discriminatory enforcement across the state.

       Courts have long recognized that, under the right to due process, statutes are

“void for vagueness” when their prohibitions “are not clearly defined.”

Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1319-20 (11th Cir. 2017) (en banc)

(citation omitted). A law “can be impermissibly vague for either of two independent



later weighed in at the Supreme Court in opposition to the Massachusetts sanctions
regime, 530 U.S. at 384 n.22.

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reasons. First, if it fails to provide people of ordinary intelligence a reasonable

opportunity to understand what conduct it prohibits. Second, if it authorizes or even

encourages arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S.

703, 732 (2000). A statute that either forbids or requires an action “in terms so vague

that persons of common intelligence must necessarily guess at its meaning and differ

as to its application violates the first essential of due process of law.” Harris v.

Mexican Specialty Foods, Inc., 564 F.3d 1301, 1310-11 (11th Cir. 2009) (cleaned

up).

       Due process requirements are heightened when a vague law imposes criminal

penalties—and especially when it subjects individuals to strict criminal liability.

“When a criminal statute is involved, no one may be required at peril of life, liberty

or property to speculate as to the meaning of penal statutes. All are entitled to be

informed as to what the State commands or forbids.” High Ol’ Times, Inc. v. Busbee,

673 F.2d 1225, 1228-29 (11th Cir. 1982) (cleaned up). Criminal statutes that are

vague and lack a mens rea requirement are routinely deemed unconstitutional. See,

e.g., Fla. Action Comm., Inc. v. Seminole Cnty., 212 F. Supp. 3d 1213, 1225 (M.D.

Fla. 2016) (ordinance that proscribed sex offenders from traveling through certain

exclusion zones around schools, parks, and playgrounds was unconstitutionally

vague); Colautti v. Franklin, 439 U.S. 379, 395 (1979), abrogated on other grounds,

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022) (“This Court has



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long recognized that the constitutionality of a vague statutory standard is closely

related to whether that standard incorporates a requirement of mens rea.”).

       Here, the district court entirely ignored the heightened due process standards

that apply to statutes imposing strict liability. Compare App.359-362, with Vill. of

Hoffman Est. v. Flipside, Hoffman Est., Inc., 455 U.S. 489, 498-99 (1982) (threat of

criminal penalties reduces “[t]he degree of vagueness that the Constitution

tolerates.”). Because SB 264 lacks clear standards and is too vague to put people on

fair notice of the conduct it proscribes, it violates due process.17

       To start, the district court and the State could not even agree on the meaning

of “domicile” as it applies to Plaintiffs, see App.331-35, yet the district court found

its meaning clear enough here to satisfy due process. That was wrong. Although SB

264 makes no attempt to define “domicile,” the district court held that because

“domicile” is used in many other areas of the law without raising vagueness

problems, its meaning must be sufficiently clear here. App.361-62. But that ignores

two factors that together make this statute different.


  17
     In the motion for a preliminary injunction, the individual Plaintiffs raised an as-
applied challenge with respect to people like them (1) who reside in the United States
but are not U.S. citizens or lawful permanent residents; (2) whose country of origin
is a “country of concern” under SB 264; and (3) who own or seek to purchase real
property in Florida. Thus, for example, their as-applied claim does not encompass
prospective buyers who reside in China. The district court claimed that Plaintiffs did
not provide “concrete” facts to support their as-applied challenge, App.360, but their
declarations plainly establish these facts and more as to each of them, App.99-102,
118-21, 143-46, 149-52.

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       First, the meaning of “domicile” is especially unsettled under Florida law as

it applies to visa-holders and asylum applicants—two central groups of homebuyers

who must now contend with SB 264. Compare, e.g., Juarrero v. McNayr, 157 So.

2d 79, 80 (Fla. 1963) (nonimmigrant visa-holder could not establish permanent

home in Florida), with Perez v. Perez, 164 So. 2d 561, 562 (Fla. 3d DCA 1964)

(refugee with temporary immigration status could establish domicile). The State

claimed below that the individual Plaintiffs all intended to remain in Florida

“indefinitely,” and therefore that all of them were domiciled in Florida. Gov’t Opp.

8-10, ECF No. 56. But none of the individual Plaintiffs have been granted permission

to remain in the United States “permanently”; for example, Ms. Wang, Ms. Shen,

and Mr. Liu reside in Florida on time-limited, nonimmigrant visas. See, e.g.,

Juarrero, 157 So. 2d at 80; Minick v. Minick, 149 So. 483, 487-88 (Fla. 1933)

(domicile is a “permanent” home).18 Neither SB 264 nor Florida’s common law

provides sufficient clarity for Plaintiffs, and the State’s non-binding arguments in

this litigation only underscore the problem.




  18
     The district court held that Ms. Shen, Ms. Wang, and Mr. Liu are “arguably
domiciled” in China and thus have standing to challenge SB 264; it did not squarely
address Mr. Xu’s standing, other than to say it was “conceivabl[e]” that Mr. Xu
would be present in Florida indefinitely. App.331-35. Because Mr. Xu, an asylum-
seeker, is also at substantial risk of being deemed domiciled in China, he too has
standing.

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       Second, SB 264 imposes strict criminal liability on homebuyers who reach

the wrong conclusion about their domicile, even inadvertently. Compare, e.g., Fla.

Stat. § 48.193 (long-arm statute relying on “domicile” for certain types of personal

jurisdiction). Due process does not tolerate a law that requires individuals to guess

about their “domicile” to avoid prison. See Louisiana v. NAACP, 366 U.S. 293, 295

(1961) (“It is not consonant with due process to require a person to swear to a fact

that he cannot be expected to know or alternatively to refrain from a wholly lawful

activity.”).

       The district court’s error was compounded by its refusal to recognize how SB

264 fails to put individuals on adequate notice of what properties are covered. In

practice, the definitions of “military installation” and “critical infrastructure facility”

are impermissibly vague and do not allow individuals to determine whether a given

property falls within one of the 5- and 10-mile exclusion zones created by the law.

A law must “provide people of ordinary intelligence a reasonable opportunity to

understand what conduct it prohibits.” Hill, 530 U.S. at 732. But instead,

homebuyers in Florida must turn to Google Maps or the like, with no assurance that

it provides a complete or accurate catalog of covered sites and their legal boundaries.

Cf. Doe v. Snyder, 101 F. Supp. 3d 672, 684 (E.D. Mich. 2015) (rejecting argument

that Google Maps could cure vagueness in statutory exclusion zones because it does

not “clearly mark property lines” or provide “the necessary detail”). For example,



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the law defines “military installation” as “a base, camp, post, station, yard, or center

encompassing at least 10 contiguous acres that is under the jurisdiction of the

Department of Defense or its affiliates.” Fla. Stat. § 692.201(5). People seeking to

buy a home face extraordinary difficulty: identifying every potential military site in

the vicinity, determining the acreage of each, and then identifying the exact

boundaries of those sites to assess which properties fall within the exclusion zone.

The problem is even worse when it comes to the range of sites—water treatment

facilities, chemical plants, electrical power plants, refineries, seaports, and others—

that qualify as critical infrastructure. Cf. 31 C.F.R. § 802 app. (specifically

identifying all relevant sites for purposes of FIRRMA restrictions).

       The district court suggested that because the law attempts to define “military

installation” and “critical infrastructure facility,” that was enough to satisfy due

process regardless of the practical difficulties homebuyers face. App.360-62. But

ordinary people must be on notice of what the law prohibits in the real world, not

simply in the abstract—especially where strict liability means they risk prosecution.

See United States v. Petrillo, 332 U.S. 1, 8 (1947) (statute must convey “sufficiently

definite warning as to the proscribed conduct when measured by common

understanding and practices”).19


  19
     The district court stated that “[t]here is no constitutionally protected activity
here” to support a pre-enforcement vagueness challenge, App.359, but an


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II.   Plaintiffs are suffering irreparable harm and the equities weigh strongly
      in their favor.

      Plaintiffs are suffering and will suffer irreparable harm from SB 264.

Plaintiffs are ordinary people going about their lives in Florida, whose plans for the

future and financial arrangements are being upended by this law for no discernable

reason. The State, for its part, does not even argue that home purchases by Plaintiffs

or other Florida residents like them pose a risk to security. Given the law’s

significant criminal and civil penalties, and the other irreparable harms Plaintiffs

face, only a preliminary injunction from this Court can provide the binding

protection they need as this case moves forward.

      Plaintiff Xu was scheduled to close on a new home in September 2023.

Although his contract has not yet been terminated, he will be forced to cancel that

contract absent relief. App.118-20. Similarly, Plaintiff Shen’s closing for her new

home is scheduled for December 2023, and she will likewise be forced to cancel her

contract absent relief. App.99-101. “Because real property is considered unique,

money damages to a contract purchaser of real property is an inadequate remedy at




individual’s right to acquire property is a fundamental constitutional right. See, e.g.,
Holden v. Hardy, 169 U.S. 366, 390-91 (1898); Yick Wo, 118 U.S. at 367-68. The
State did not contest this below. Although the district court relied on Bankshot
Billiards, Inc. v. City of Ocala, 634 F.3d 1340 (11th Cir. 2011), see App.359, that
case is not to the contrary, as it involved a business asserting a general “right to
operate under clear laws.”


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law.” Ebsco Gulf Coast Dev., Inc. v. Salas, No. 3:15-cv-586-MCR, 2016 WL

11189984, at *4 (N.D. Fla. Sept. 29, 2016); see Johnson v. U.S. Dep’t of Agric., 734

F.2d 774, 788 (11th Cir. 1984) (similar). By forcing the plaintiffs to cancel their

contracts and by depriving them of these particular properties, SB 264 will cause

them irreparable harm.

      Plaintiff Multi-Choice Realty is already losing customers whose transactions

are prohibited under the law, and it is suffering damage to its goodwill. See App.156-

57, 310-11. This “loss of customers and goodwill is an irreparable injury.” BellSouth

Telecomms., Inc. v. MCIMetro Access Transmission Servs., LLC, 425 F.3d 964, 970

(11th Cir. 2005).

      SB 264 also imposes discriminatory registration and affidavit requirements. It

mandates that Plaintiffs and any other would-be buyer attest under penalty of perjury

to their compliance, on pain of third-degree felony charges, up to five years’

imprisonment, heavy fines, and property forfeitures. Fla. Stat. § 692.204(8). Given

the statute’s vagueness, even would-be purchasers who believe themselves permitted

to purchase (or incorrectly believe themselves barred) will be deterred and deprived

of unique, irreplaceable properties.

      More broadly, SB 264 is wreaking havoc for Chinese people throughout the

state, given its stigmatizing effects and resulting discrimination in the housing

market. Under Eleventh Circuit precedent, irreparable injury should be presumed



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from these harms. See Gresham v. Windrush Partners, Ltd., 730 F.2d 1417, 1423

(11th Cir. 1984) (“when housing discrimination is shown it is reasonable to presume

that irreparable injury flows from the discrimination”). The law’s discriminatory

prohibitions and requirements stigmatize Plaintiffs simply because they are Chinese

and damage their status in their communities. SB 264 is explicitly based upon and

perpetuates a malignant stereotype: that Chinese nationals are fundamentally un-

American and untrustworthy, and thus are appropriately excluded from being able

to purchase their home of choice in America. The law also sows widespread housing

discrimination because it threatens sellers with criminal penalties for transacting

with Chinese persons like the individual Plaintiffs. See Fla. Stat. §§ 692.203(9),

692.204(9). Because of SB 264, lenders have stated that they are cutting off business

with all Chinese citizens in Florida. App.310-11. Only an injunction can prevent

these multiple dimensions of irreparable injury from dramatically harming the public

interest.

       Finally, the balance of equities and the public interest weigh heavily in favor

of preliminary enjoining SB 264. Where, as here, the government is the party

opposing the preliminary injunction, these two factors merge into a single analysis.

See Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020).

       Plaintiffs are experiencing the loss of unique property, constitutional injury,

unwarranted stigma, and significant financial harms due to SB 264. Nothing



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appreciable weighs on the State’s side of the scale. There is no public interest “in the

enforcement of what is very likely an unconstitutional statute,” Odebrecht, 715 F.3d

at 1290; rather, “the public interest is served when constitutional rights are

protected,” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir.

2019). Moreover, the State’s position—rejected by the district court as to standing—

is that the individual Plaintiffs are not covered by the statute, so an injunction as to

them and people like them could not possibly harm the State. The State offered no

evidence that real estate purchases by Florida residents like Plaintiffs pose any threat

to state security, and the United States has supported an injunction while noting that

SB 264 “will not advance the State’s purported goal of increasing public safety.”

App.287. The equities weigh decisively in favor of an injunction preliminarily

halting this discriminatory, unconstitutional law.

                                   CONCLUSION

      Plaintiffs respectfully request that the Court reverse and remand with

instructions to preliminarily enjoin the challenged provisions of SB 264.



 Dated: October 2, 2023                         Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

           e undersigned counsel certifies as follows:

      1.         is brief contains 12,992 words, excluding the parts of the document

exempted by Rule 32(f), in accordance with Rule 32(a)(7)(B).

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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2023, the foregoing was filed electronically

with the Clerk of Court through the appellate CM/ECF system. I further certify that

all parties required to be served have been served.

Dated: October 2, 2023                           /s/ Ashley Gorski
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